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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                     August 3, 2021

Eugene Ohm
Federal Public Defender for the District of Colombia
625 Indiana Ave. NW
Washington D.C. 20004
Email: Eugene_Ohm@fd.org


       Re:     United States v. Arthur Jackman
               Case No. 21-CR-378 (TJK)

Dear Mr. Ohm:

               We are writing to provide you with preliminary discovery in this case through
USAFx. This material is subject to the terms of the Protective Order issued in this case. The
discovery is unencrypted. Please contact me if you have any issues accessing the information. All
files uploaded to USAFx will automatically be deleted after 60 days per the automatic retention
policy in place. Please download the files before then.

       Note that all these files and their related physical attachments are currently being formally
processed for discovery by the discovery team assigned to the Capitol Riots cases. As such, the
same files will be re-produced with bates-stamps at a later date. Nevertheless, we wanted to
provide you what we can now as we wait for this processing to be finalized.

       The transcript of the May 26, 2021 grand jury transcript as well as the following
materials are designated as SENSITIVE under the protective order in this case:

       0176-TP-3379197_0000011_Redacted.pdf
       0176-TP-3379197_0000011_1A0000003_0000001_Redacted.pdf
       0176-TP-3379197_0000011_1A0000003_0000002_Redacted.pdf
       0176-TP-3379197_0000044.pdf
       0176-TP-3379197_0000044_1A0000012_0000001_PHYSICAL.pdf
       0176-TP-3379197_0000044_1A0000013_0000001.docx
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       The United States Capitol Police surveillance video as well as the following
materials are designated as HIGHLY SENSITIVE under the protective order in this case:

       0176-TP-3379197_0000027.pdf
       0176-TP-3379197_0000027_1A0000017_0000001.pdf
       0176-TP-3379197_0000027_1A0000017_0000002.pdf

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                    Sincerely,



                                                    Nadia Moore
                                                    William Dreher
                                                    Christopher Veatch
                                                    Assistant United States Attorneys
Enclosure(s)




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Exhibit A:

0176-TP-3379197_0000011_Redacted.pdf
0176-TP-3379197_0000011_1A0000003_0000001_Redacted.pdf
0176-TP-3379197_0000011_1A0000003_0000002_Redacted.pdf
0176-TP-3379197_0000027.pdf
0176-TP-3379197_0000027_1A0000017_0000001.pdf
0176-TP-3379197_0000027_1A0000017_0000002.pdf
0176-TP-3379197_0000040.pdf
0176-TP-3379197_0000040_1A0000027_0000001_PHYSICAL.pdf
0176-TP-3379197_0000044.pdf
0176-TP-3379197_0000044_1A0000012_0000001_PHYSICAL.pdf
0176-TP-3379197_0000044_1A0000013_0000001.docx
May 26, 2021 Grand Jury exhibits 1 – 19
Transcript of May 26, 2021 grand jury transcript
25 body worn camera files
One additional USCP video

                             Capitol Video Production Index
                                  (as of August 3, 2021)

           Title                    Bates                       Description
 ABQ Raw 31 Minute                               31:00 video showing scenes outside
 youtube.com watch                               Capitol grounds, breach of First Street
 v=YONAuAesjAY               CAPVID_00001        barricades, stairs near inauguration stage
 ABQ Raw 9 minute
 youtube.com watch           CAPVID_00002     9:52 video showing breach of First
 v=oYxKioXhve0               21CR175_00001498 Street barricades, breach of west plaza
                                              30:41 video schowing scenes outside the
                                              Capitol grounds, breach of the First
                                              Street gate, breach of the west plaza,
 ABQ Raw Anatomy of a        CAPVID_00003     violence on the west plaza and the lower
 Riot youtube.com            21CR175_00001499 west terrace.
                                              18:24 video showing breach of the First
                                              Street barricades, breach of the west
 ABQ Raw People Storm the                     plaza, and violence on west plaza and
 Capitol youtube.com         CAPVID_00004     lower west terrace
 Banned-Video What
 REALLY Happen at the                            1:28:30 video showing scenes from the
 Capitol                     CAPVID_00005        west plaza and lower west terrace
 BG on the Ground - Trump                        1:35 video from upper west terrace,
 Supporters Storm US                             showing Dominic Pezzola breaking
 Capitol in DC youtube.com   CAPVID_00006        Capitol window with a riot shield


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            Title                   Bates                      Description
                               CAPVID_00007     1:40:41 video showing Proud Boy
Block Video                    21CR175_00001497 march
BREAKING_ Trump                                 1:25:40 video showing breach of First
Supporters Breach Barriers                      Street gate, breach of west plaza,
and Storm Capitol              CAPVID_00008     violence on west plaza
Capitolhunters walking                          :10 video from the Capitol grounds,
outside capitol twitter.com    CAPVID_00009     including Arthur Jackman
Channel 4 News Proud boys                       10:10 video that aired on the BBC after
leader will continue to                         the events of January 6. Features an
happen youtube                 CAPVID_00010     interview with Tarrio.
ElijahSchaffer Twitter                          1:41 video showing breach of the First
assault on the barricades      CAPVID_00011     Street barricades
Hunting Insurrectionists                        19:53 video that shows scenes on the
Columbus Door Parler                            east side of the Capitol, including the
Videos youtube.com             CAPVID_00012     breach of the Columbus doors
                                                2:59:59 video that shows scenes from
                                                the east side of the Capitol from
Hunting Insurrectionists                        multiple angles, including the breach of
East Columbus Doors 1345                        the Columbus doors. Includes footage
- 1645 youtube.com             CAPVID_00013     from inside the Capitol as wel.
                                                12:09 video showing portions of the
                                                Proud Boys march from Washington
Hunting Insurrectionists Joe                    Monument to the Capitol, the breach of
Biggs Timeline                                  the First Street barricades, the upper
youtube.com                    CAPVID_00014     west terrace, and the Columbus doors
                                                13:44 video showing Proud Boys near
                                                the food trucks, the breach of the First
                                                Street Barricades, multiple angles of the
                                                breach of the west plaza, video from the
                                                west plaza, and from the east side of the
Hunting Insurrectionists                        Capitol, including the breach of the
youtube                        CAPVID_00015     Columbus doors
                                                24:43 video that shows multiple angles
                                                of the breach of the First Street
Hunting Insurrectionists                        barricades, the breach of the barricades
Terrorist breach the West                       outside the west plaza, and rioting on the
Barricades youtube.com         CAPVID_00016     west plaza
                                                    5:12 video featuring multiple videos
Hunting Insurrectionists                            showing the breach of the Capitol
Terrorist break into Capitol                        building on the west side and rioters'
multiple angles                                     confrontation with Officer Eugene
youtube.com                    CAPVID_00017         Goodman
                                             4
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           Title                   Bates                       Description
                                               1:26:25 video, featuring footage from
                                               outside the Capitol grounds, the west
                                               plaza, the stairs under the Inauguration
Insurgence full video seige                    stage, the upper west terrace, and inside
on Capitol youtube.com        CAPVID_00018     the Capitol
                                               1:38:03 video from December 30, 2020,
                                               featuring Enrique Tarrio, Joe Biggs,
Miami Proudboy - MoSD                          Zach Rehl, and others describe the
brief youtube.mp4             CAPVID_00019     Ministry of Self Defense
                                               2:18 video from the west plaza with
Nabert Biggs timeline                          defendant Biggs circled in multiple
twitter                       CAPVID_00020     shots.
                                               1:00 video from outside on the Capitol
Nabert BulgePB twitter.com    CAPVID_00021     grounds
                                               42:56 video showing areas outside the
                                               Capitol grounds, the lower west plaza,
                                               the stairs under and around the
Nigrotime Capitol Riots                        inauguration stage, the east side of the
Raw Footage youtube.com       CAPVID_00022     Capitol, and inside the building
                                               7:17 video showing scenes from the east
Nigrotime The US Capitol                       side of the Capitol, including breach of
Breach as it happened                          the Columbus doors and inside the
youtube.com                   CAPVID_00023     Capitol
Nine_niall Twitter subjects
entering.mp4                  CAPVID_00024     :33 video from the upper west terrace
Propublica Parler 1253 Near                    :29 video showing breach of fencing on
Capitol - Breaching Fence     CAPVID_00025     First Street
Propublica Parler 1357 Near
Capitol Barricades Being                       2:20 video showing barricades breached
Removed                       CAPVID_00026     on east side of Capitol
Propublica Parler 1406 Near
Capitol Pushing Past Police
Line                          CAPVID_00027     :30 video from east side of Capitol
Propublica Parler 1411 Near
Capitol Pushing up                             1:03 video from scaffolding under
Scaffolding                   CAPVID_00028     Inauguration stage
Propublica Parler 1412 Near
Capitol Reaching Walls and
Banging on Windows            CAPVID_00029     :29 video from upper west terrace
Propublica Parler 1413 Near
Capitol - Radio               CAPVID_00030     1:54 video form west plaza

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            Title                    Bates                        Description
Propublica Parler 1413 Near                        :15 video showing breaking of Capitol
Capitol - Windows              CAPVID_00031        window with riot shield
Propublica Parler 1414                             :35 video showing rioters entering
Inside the Capitol             CAPVID_00032        Capitol, including Biggs
Propublica Parler 1415                             1:48 video showing rioters entering
Inside the Capitol             CAPVID_00033        Capitol, including Biggs
Propublica Parler 1501
inside the Capitol             CAPVID_00034        :05 video from inside the Rotunda
Propublica Parler 1512
Inside the Capitol             CAPVID_00035        :50 video from inside the Capitol
realJamesKlug Twitter                              1:00 video showing breach of Capitol
Klein brothers breach door     CAPVID_00036        door
realJamesKlug Twitter
Klein brothers breach door                         :38 video showing attempted breach of
part 2                         CAPVID_00037        Capitol door
                                                   1:07:59 video showing scenes from the
RFIRN Eastside Capitol                             east side of the Capitol, including breach
Building youtube.com.          CAPVID_00038        of the Columbus doors
SRM Pro Trump Protestors                           2:31 video including senes from the
Beat Police Officer                                lower west terrace and tunnel entrance
youtube.com                    CAPVID_00039        to the crypt.
SRM Scenes of Chaos                                29:22 video including scenes from the
outside US Capitol                                 lower west terrace and tunnel entrance
youtube.com                    CAPVID_00040        to the crypt.
The Sun Live Stream                                1:59:24 video showing the east side of
youtube.com.mp4                CAPVID_00041        the Capitol, including Proud Boys march
washingtondc theellipse live
irl LIVE in DC where                            3:30:00 video showing scenes outside
Trump has called in the        CAPVID_00042     Capitol grounds, Proud Boys near the
PATRIOTS                       21CR175_00001496 food trucks,
                                                1:21:17 video showing breach of First
                                                Street gate and entry onto Capitol
Video showing breach and       CAPVID_00043     grounds; Donohoe, Pezzola, and Greene
Pezzola shield carry           21CR175_00001495 at 33:19
IMG_9475.MOV                   CAPVID_00044     0:01 video (Biggs Google Return)
                                                0:56 video depicting pedestrian
IMG_9476.MOV                   CAPVID_00045     walkway (Biggs Google Return)
                                                0:42 video depicting west plaza (Biggs
IMG_9477.MOV                   CAPVID_00046     Google Return)
                                                0:18 video depicting west plaza (Biggs
IMG_9481.MOV                   CAPVID_00047     Google Return)

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           Title             Bates                       Description
                                          0:21 video depicting west plaza (Biggs
IMG_9483.MOV            CAPVID_00048      Google Return)
                                          0:42 video depicting west plaza (Biggs
IMG_9492.MOV            CAPVID_00049      Google Return)
                                          0:08 video depicting west plaza (Biggs
IMG_9495.MOV            CAPVID_00050      Google Return)
                                          0:58 video depicting west plaza (Biggs
IMG_9496.MOV            CAPVID_00051      Google Return)
                                          0:15 video depicting west side of
                                          Capitol lawn; Biggs selfie (Biggs
IMG_9508.MOV            CAPVID_00052      Google Return)
                                          0:09 video depicting east plaza (Biggs
IMG_9531.MOV            CAPVID_00053      Google Return)
                                          0:19 video depicting television coverage
IMG_9573.MOV            CAPVID_00054      of vote count (Biggs Google Return)
                                          0:13 video depicting protestors entering
4104714703243710000.mp4 CAPVID_00055      grounds (Biggs Google Return)
                                          0:06 video Biggs selfie at Washington
camvideo_5702bda6.mp4   CAPVID_00056      Monument (Biggs Google Return)
                                          :21 video showing banner on ground
IMG_1538                CAPVID_00057      near Washington Monument
                                          1:10 video showing crowd near
IMG_1539                CAPVID_00058      Washington Monument
                                          1:52 video showing crowd near
                                          Washington Monument and National
                                          Museaum of African American History
IMG_1540                CAPVID_00059      and Culture
                                          :30 video showing members of the Oath
IMG_1542                CAPVID_00060      Keepers
                                          :20 video showing members of the Oath
IMG_1543                CAPVID_00061      Keepers
                                          :26 video showing member of the Proud
                                          Boys and others near the instersection of
IMG_1544                CAPVID_00062      2nd St and Constitution Ave NW
                                          :18 video showing members of the
                                          Proud Boys and others marching near
                                          the intersection of Constitution and First
IMG_1545                CAPVID_00063      Street NW
                                          :05 video of Proud Boys and others
IMG_1546                CAPVID_00064      marching near the Peace Monument
                                          :38 video of Proud Boys and others
IMG_1547                CAPVID_00065      congregating near the Peace Monument

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           Title             Bates                       Description
                                          :12 video of crowd gathered near the
IMG_1548               CAPVID_00066       Peace Monument
                                          9:26 video of crowd advancing from
                                          Peace Monument to barriers,
                                          overwhelming police and toppling
                                          barriers, advancing up pedestrian
                                          walkway to Capitol, and filling west
IMG_1549               CAPVID_00067       plaza
IMG_1550               CAPVID_00068       :06 selfie video on the west plaza
IMG_1551               CAPVID_00069       2:07 video on the west plaza
IMG_1552               CAPVID_00070       :26 video on the west plaza
IMG_1553               CAPVID_00071       :22 video on the west plaza
IMG_1554               CAPVID_00072       :05 video on the west plaza
IMG_1555               CAPVID_00073       :25 video on west plaza
IMG_1556               CAPVID_00074       :10 video on west plaza
IMG_1557               CAPVID_00075       :27 video on west plaza
IMG_1558               CAPVID_00076       :23 video on west plaza
IMG_1559               CAPVID_00077       :26 video on west plaza
IMG_1560               CAPVID_00078       :05 video on west plaza
IMG_1561               CAPVID_00079       4:45 video on west plaza
IMG_1562               CAPVID_00080       7:52 video on west plaza
IMG_1563               CAPVID_00081       1:30 video on west plaza
IMG_1564               CAPVID_00082       1:34 video on west plaza
IMG_1566               CAPVID_00083       3:43 video on west plaza
IMG_1568               CAPVID_00084       1:05 video on west plaza
IMG_1569               CAPVID_00085       :23 video on west plaza
IMG_1570               CAPVID_00086       :10 video on west plaza
IMG_1572               CAPVID_00087       1:37 video on west plaza
IMG:1573               CAPVID_00088       :08 video on west plaza
                                          4:14 video on west plaza and stairs
IMG_1575               CAPVID_00089       under Inauguration stage
                                          1:32 video from west plaza and stairs
IMG_1576               CAPVID_00090       under Inauguration stage
IMG_1577               CAPVID_00091       2:07 video from upper west terrace
                                          2:13 video from upper west terrace and
IMG:1578               CAPVID_00092       inside Capitol
                                          5:23 video from inside Capitol in
                                          hallway with Officer Eugene Goodman
IMG_1580               CAPVID_00093       and others


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           Title             Bates                       Description
                                          :44 video from inside Capitol in hallway
                                          with Officer Eugene Goodman and
IMG_1581               CAPVID_00094       others
                                          :06 video from inside Capitol in hallway
                                          with Officer Eugene Goodman and
IMG_1582               CAPVID_00095       others
                                          :08 video from inside Capitol in hallway
                                          with Officer Eugene Goodman and
IMG_1583               CAPVID_00096       others
                                          :12 video from inside Capitol in hallway
                                          with Officer Eugene Goodman and
IMG_1584               CAPVID_00097       others
                                          :19 video from Capitol balcony on east
IMG_1585               CAPVID_00098       side
IMG_1588               CAPVID_00099       :07 video from outside east of Capitol
IMG_1589               CAPVID_00100       :44 video from outside east of Capitol
IMG_1592               CAPVID_00101       :53 video from outside east of Capitol
                                          :49 video from Capitol balcony on east
IMG_1593               CAPVID_00102       side
                                          :23 video from Capitol balcony on east
IMG_1594               CAPVID_00103       side
                                          :09 video from Capitol balcony on east
IMG_1595               CAPVID_00104       side, facing doors
                                          :40 video from Capitol balcony on east
IMG_1596               CAPVID_00105       side
                                          :09 video from Capitol balony on east
IMG_1597               CAPVID_00106       side, facing doors
                                          :06 video from Capitol balcony on east
IMG_1598               CAPVID_00107       side, facing doors
                                          :15 video from Capitol balcony on east
IMG_1599               CAPVID_00108       side, facing doors
                                          :31 video from Capitol balcony on west
IMG_1600               CAPVID_00109       side, facing doors
                                          2:12 video from Capitol balcony on west
IMG_1601               CAPVID_00110       side, facing doors
IMG_1602               CAPVID_00111       :23 video from inside the rotunda
IMG_1603               CAPVID_00112       2:26 video from inside the rotunda
IMG_1604               CAPVID_00113       :18 video from near the rotunda
IMG_1606               CAPVID_00114       6:48 video from in/near the rotunda
IMG_1607               CAPVID_00115       :35 video from near the rotunda
                                          :31 video from east balcony of Capitol,
IMG_1610               CAPVID_00116       facing doors
                                     9
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           Title             Bates                      Description
                                          :34 video from east balcony of Capitol,
IMG_1611               CAPVID_00117       facing doors
                                          :18 video from east balcony of Capitol,
IMG_1612               CAPVID_00118       panning crowd
                                          :17 video showing broken window on
IMG_1614               CAPVID_00119       Capitol
                                          2:19 video from east east balcony of
IMG_1615               CAPVID_00120       Capitol
                                          :27 video from outside Capitol on east
IMG_1616               CAPVID_00121       side
                                          :34 video form outside Capitol on east
IMG_1617               CAPVID_00122       side
                                          :43 video from outside Capitol on east
IMG_1618               CAPVID_00123       side
                                          :26 video from outside Capitol on east
IMG_1619               CAPVID_00124       side
IMG_1620               CAPVID_00125       :27 video from outside Capitol




                                     10
